                 IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                           EASTERN DIVISION
                              4:19-MC-1-H



  DANIEL J. WILLIS,                 )
                                    )
            Plaintiff,              )
                                    )
       v.                           )
                                    )                ORDER
                                    )
  TRENTON TOWN COUNCIL, et al.      )
                                    )
            Defendants.             )




     This matter is before the court on plaintiff’s motion for

leave to file a new civil action [DE #1].         The instant matter is

one in a plethora of actions plaintiff Daniel J. Willis has brought

or attempted to bring against various defendants for more than two

decades.    Plaintiff is subject to two prefiling injunctions in the

Eastern District of North Carolina, one entered by this court and

one entered by the Fourth Circuit.

     Because   of   plaintiff=s   history   of   frivolous   filings   and

appeals, by order dated March 17, 1997, the United States Court of

Appeals for the Fourth Circuit enjoined plaintiff

            from filing pleadings in any pending lawsuit,
            or commencing, or attempting to initiate any
            new lawsuit, action, proceeding, or matter in



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           the United States District Court for the
           Eastern District of North Carolina against any
           person or entity in forma pauperis without
           first obtaining leave of the court to so
           proceed.


Prefiling Injunction, Willis v. Town of Trenton, No. 96-2066 (4th

Cir. Mar. 17, 1997); see also Willis v. Town of Trenton, No. 4:96-

CV-6-H(4) (E.D.N.C. Apr. 5, 2002) (imposing additional prefiling

injunction), aff=d, No. 02-1510 (4th Cir. Nov. 15, 2002).

      In the Fourth Circuit=s March 17, 1997, prefiling injunction,

the court noted that plaintiff had by then already amassed an

Aexceptional history of frivolous filings and appeals,@ and found

it necessary to take Aextraordinary measures to safeguard its

resources for those litigants who seek its services in good faith.@

Id.

      The Fourth Circuit’s prefiling injunction dictates the manner

in which Mr. Willis may seek leave of court to file:

           In seeking such leave, Willis shall file a
           motion for leave to file a pleading in a
           pending action or a new civil action with an
           attached copy of his proposed complaint and
           the motion shall be supported by Willis’s
           affidavit.    The affidavit attached to the
           motion shall concisely state the following
           information:   (1) the names of all proposed
           defendants;    (2)   the    primary    factual
           allegations upon which Willis’s claim or
           pleading is based; (3) the legal basis for the
           claim pleading; (4) whether Willis has
           previously litigated the claim in any court or
           administrative forum; (5) whether Willis ever
           sued the named defendants in any other civil

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             case; (6) if Willis      has previously sued any
             named defendant, he       will indicate the case
             name, court, date,       and outcome; and (7) a
             listing of all other     cases previously filed.

Prefiling Injunction at 2 (emphasis in original).

     The Fourth Circuit has ordered that if Mr. Willis’s “motion,

affidavit or filings fail to satisfy the designated requirements

in any manner, the motion will not be considered.”                     Prefiling

Injunction at 2.

     Additionally, in 2002, this court enjoined plaintiff from

“filing any additional cases in this district involving the Town

of Trenton or defendant Leggett without prior approval of the

court.”     Willis v. Town of Trenton, No. 4:96-CV-6-H(4) (E.D.N.C.

Apr. 5, 2002) (imposing additional prefiling injunction), aff=d,

No. 02-1510 (4th Cir. Nov. 15, 2002).

     A review of the motion and affidavit before the court today

reveals    that   plaintiff   Willis    has    failed    to   comply   with   the

requirements for the affidavit as contained in the Fourth Circuit’s

prefiling     injunction.       For    example,    the    list    of   proposed

defendants (Requirement Number One) does not match the defendants

listed on the proposed complaint.             Additionally, Willis fails to

comply with Requirement Number Six, namely to indicate the case

name, court, date, and outcome for any case in which he has

previously sued a named defendant.

     This court understands that providing this information for

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each case against any defendants that Mr. Willis has previously

filed could prove to be an onerous task, as he has been such a

prolific filer.    However, this is the exact reason that the Fourth

Circuit has placed such requirements on Mr. Willis.         Furthermore,

this court must follow the order of the Fourth Circuit.          Inasmuch

as Mr. Willis has failed to comply with the requirements of the

prefiling injunction, this court cannot consider his motion.

                                 CONCLUSION

     For the foregoing reasons, plaintiff’s motion for leave to

file is DENIED. All other pending motions are deemed moot.            The

clerk is directed to close these matters.

     This 8th     day of October 2020.




                                 MALCOLM J. HOWARD
                                 Senior United States District Judge
At Greenville, NC
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